Case 2:12-cV-02339-.]TF-tmp Document 1 Filed 05/01/12 Page 1 of 12 Page|D 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

WESTERN I)IVISION
BRENDA L. IVY AND KEITH M. IVY PLAINTIFFS
VS. CASE NO.
LEA M. BANNISTER, M.D. AND
MEMPHIS OBSTE'I`RICS &
DEFEN])ANTS

GYNECOLOGICAL ASSOCIATION, P.C.

COMPLAINT
(Jury Trial Requested)

Come now the Plaintiffs, Brenda L. lvy and Keith M. lvy, by and through their attorneys,
Rozier Hayes, PLLC, and for their Complaint against the Defendants, Lea M. Bannister, M.D.,
and Memphis Obstetrics & Gynecological Association, P.C., state:

PARTIES, JURISDICTION. AND VENUE

l. Pfaintiffs are residents and citizens of the State of Mississippi.

2. Based on information and reasonable belief, Defendant Lea M. Bannister, M.D. is
a resident and citizen of the State of Tennessee.

3. Dr. Bannister is a physician licensed to practice medicine in the State of
Tennessee and specializes in the practice of obstetrics and gynecology in Memphis, Tennessee.

4. Defendant Memphjs Obstetrics & Gynecological Association, P.C. (“MOGA”) is
a professional corporation formed under the laws of the State of Tennessee and has its principle
place of business in Mernphis, Tennessee.

5. Based on information and reasonabfe belief, Dr. Bannister Was an employee of

MOGA and Was acting within the scope and course of her employment with MOGA at all times

relevant to this complaintl

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 2 of 12 Page|D 2

6. As described in more detail belony this is a health care liability action arising out
of the provision of, and failure to provide, health care services by Dr. Bannister to Mrs. ivy
beginning March 2, 2011.

7. This Court has personal jurisdiction over the Defendants, subject-matter
jurisdiction pursuant to 28 U.S.C. § 1332 based on diversity of citizenship between the parties

and damages in excess of 375,000.00, exclusive of interest and costs, and venue pursuant to 28

U.S.C. § 1391.
trials _
8. Plaintiffs are, and Were at all times relevant to this Complaint, husband and Wife.
9. Mrs. lvy entered into a professional medical relationship With Dr. Bannister and

MOGA several years prior to the acts and omissions of medical negligence that give rise to this

action.

10. On .lanua1y 5, 2011, Mrs. Ivy presented to_ the offices of MOGA and Was seen by

Dr. Bannister for evaluation and treatment of complaints of pelvic pain, cramping, and irregular

cycle.

l l. By that time, Dr. Bannister knew that Mrs. Ivy had a significant history of

abdominal surgeries and abdominal adhesions.

12. Dr. Bannister examined Mrs. lvy and subsequently determined that she`vvas

suffering from endometriosis, a medical condition in which cells from the lining of the uterus '

(endometrium) appear and flourish outside the uterine cavity.

l3. Dr. Bannister recommended a laparoscopic endometrial ablation procedure and

explained to Mrs. ivy that a laparoscopic procedure was preferable to an open procedure due to

its less-invasive nature and quicker recovery time.

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 3 of 12 Page|D 3

14. Dr. Bannister assured Mrs. Ivy that she could perform the laparoscopic procedure
on an outpatient basis and that no overnight stay would be required.

15. Based on Dr. Bannister’s recommendation and assurances, Mrs. Ivy agreed to the

laparoscopic procedure
16.. The laparoscopic procedure was scheduled for March 2, 2011, at Baptist
l\/Iemorial Women’s Hospital in Memphis, Tennessee (“BMHW”).
17. Mrs. Ivy reported to BMHW on March 2, 2011, as instructed by Dr. Bannister.
18. Dr. Bannister began the laparoscopic procedure by inserting laparoscopic

instruments into Mrs. Ivy’s abdomen and soon encountered significant abdominal adhesions

encompassing loops of the bowel.

19. Dr. Bannister started adhesiolysis of the bowel loops but decided to terminate the

procedure due to the significant degree of pelvic adhesive disease of the bowel in proximity and

adhesed to the uterus.

20. While removing the laparoscopic instruments, Dr. Bannister was informed by

surgical personnel that free air was filling the Foley bag that was being used for urine collection

during the procedure

21. Dr. Bannister then decided to reinsert the laparoscopic instruments and perform

the ablation procedure

22. Following completion of the ablation procedure, Dr. Bannister determined that

she had injured Mrs. Ivy’s bladder.

23. Dr. Bannister then transformed the laparoscopic procedure to an open procedure

to investigate and repair the bladder injury.

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 4 of 12 Page|D 4

24. Dr. Bannister made a transverse incision in ivlrs. ivy’s lower abdomen and began

her investigation of the bladder injury.

25. Upon opening the abdomen, Dr. Bannister visually inspected Mrs. lvy’s bladder

and found that it had been perforated in two places during the course of the laparoscopic

procedure.

26. Dr. Bannister repaired the wounds to lvlrs. lvy’s bladder, closed the incision, and

terminated the surgical procedurel
27. Dr. Bannister did not visually or manually inspect l\/lrs. Ivy’s bowel prior to
closing the incision and terminating the surgical procedure

28. Due to the surgical complications, Mrs. Ivy was admitted to BMHW for

observation by Dr. Bannister.

29. Almost immediately after the surgical procedure was completed, it was noted that

Mrs. Ivy was suffering from abdominal distention and a mild ileus.
30. Mrs. Ivy’s condition kept getting worse and by March 4, 20l1, she began
experiencing sustained tachycardia and an elevated temperature of 101.

31. Mrs. ivy was then transferred to the lntensive Care Unit at BMHW where she

continued to be monitored by Dr. Bannister.

32. Despite Mrs. Ivy’s worsening medical condition, Dr. Bannister ordered Mrs. Ivy

out of the Intensive Care Unit for less-intensive nursing care.

33. Mrs. Ivy’s condition continued to deteriorate to the point that Dr. Bannister

ordered Mrs. ivy back to the Intensive Care Unit.

34. Dr. Bannister ordered a CT scan on March 6, 2011, which revealed fluid

accumulations in the abdominal area with a concern of bowel obstruction or injury. .

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 5 of 12 Page|D 5

35. A nasogastric tube was placed which returned 250 cc of bilious material from
l\/lrs. lvy’s stomachl

36. Despite these worsening symptoms and objective findings, Dr. Bannister
continued to monitor Mrs. Ivy without seeking definitive treatment for her condition.

37. By the evening of March 6, 2011, Ms. lvy’s condition became so grave that Dr.

Bannister decided to transfer her to Baptist Memorial Hospital Memphis (“BMHl\/l”) for a

general surgery consultation

38. Mrs. lvy was transferred to BMHM by ambulance late on March 6, 2011, and was

seen there by a general surgeon, Dr. Carter McDaniel, for investigation and treatment of her

condition on March 7, 2011.

39. Dr. McDaniel took Mrs. lvy to surgery and found two perforations in her bowel

where Dr. Bannister performed surgery five days earlier.

40. The bowel perforations were caused by Dr. Bannister during surgery on March 2,

2011.

41. Dr. McDaniel also found that the _bowel was actively leaking intestinal fluid into

the abdominal cavity through the two perforations.

42. Dr. McDaniel removed 20 centirneters (almost 8 inches) of Mrs. lvy’s bowel in

order to repair the damage caused by Dr. Bannister.

43. Dr. McDaniel then determined that the bowel was so injured and edematous that

he could not safely close the incision in Mrs. ivy’s abdomen and elected to end the procedure

with the abdomen left open.

44. The section of bowel removed by Dr. McDaniel was sent to pathology for

evaluation

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 6 of 12 Page|D 6

45. Pathology determined that the bowel had been perforated and described it as

displaying gangrene and acute peritonitis.

46. Mrs. lvy’s post-operative course Was medically unstable and she was placed on a

ventilator.

47. Mrs. lvy could not be removed from the ventilator due to respiratory failure and

overwhelming sepsis.

48. l\/lrs. Ivy remained in guarded condition in the ICU for many days following the

surgical repair by Dr. McDaniel and was required to remain on a ventilator.

49. Mrs. Ivy underwent many surgical procedures to close her abdomen, including
placement of a mesh over her open abdomen and a tracheotomy due to overwhelming sepsis and
respiratory failure.

50. On April 25, 2011, Ms. Ivy underwent yet another surgical procedure whereby
her open abdomen was closed by way of a full~thickness skin graft.

51. Despite closure of the surgical wound, Mrs. Ivy’s bowel still protruded out of her

abdomen.

52. Mrs. lvy underwent other surgeries to close the Wound and repair the incision in

her abdomen.

53. Mrs. lvy was discharged from BMHM on May 19, 2011 and transferred to Baptist

Memorial Hospitai in Desoto, Mississippi (“Bl\/IHD” , for further medical care, treatment, and

rehabilitation services closer to her family.

54. Mrs. lvy was discharged from BMHD on June 3, 2011, but has been readmitted

on numerous other occasions for medical care and treatment of her injuries.

 

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 7 of 12 Page|D 7

55. Mrs. lvy received home health care after her first discharge from BMHD on June
3, 2011, and continues to receive such care.

56. Mrs. lvy will at some point undergo plastic surgery to repair her abdomen and
will require sustained medical care for the rest of her life.

COUNT I: MEDICAL NEGLIGENCE

57. At all times relevant herein, Dr. Bannister owed a duty to provide medical care to
Mrs. lvy in accordance with the recognized standard of acceptable professional practice in the
profession and the specialty thereof that she practices in the community in which she practices or
in a similar community at the time of the alleged injuries and wrongful actions occurred

58. Dr. Bannister acted with less than, and failed to act with, ordinary and reasonable
care in accordance With such standard in the following respects:

A. Knowing that Mrs. lvy had a significant history of abdominal surgeries
and abdominal adhesions, and after discovering and repairing the bladder injury during
the laparoscopic procedure, Dr. Bannister failed to check the bowel for injuries before
concluding the initial surgery;

B. Dr. Bannister failed to properly evaluate, assess, and respond to the

clinical signs and symptoms exhibited by Mrs. lvy post-operatively, particularly the clear

signs and symptoms of sepsis; and

C. Dr. Bannister failed to specifically inform Mrs. ivy of the enhanced risk of

complications associated with a laparoscopic procedure due to her history of abdominal

surgeries and abdominal adhesions.

59. As a direct and proximate result of Dr. Bannister’s negligent acts and omissions,

Mrs. Ivy suffered injuries which would not otherwise have occurred.

 

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 8 of 12 Page|D 8

60. Specifically, if Dr. Bannister had checked the bowel for injuries before
concluding the initial surgery, she would have found and repaired the bowel injury sustained by
Mrs. ivy during that surgery.

61. As a direct and proximate result of Dr. Bannister’s failure to check the bowel for
injuries before concluding the initial surgery, the bowel injury was not discovered and repaired
during that surgery and Mrs. ivy suffered a significant delay in treatment and significant medical

injuries and life-altering complications

62. in addition, Mrs. ivy’s septic condition was directly and proximately caused by
the injury to her bowel during the initial surgery.

63. Moreover, the failure of Dr. Bannister to recognize the signs and symptoms of
sepsis and correlate them to sepsis resulting from the underlying bowel injury directly and
proximately caused a significant delay in treatment and significant medical injuries and
complications to Mrs. ivy which would have been avoided if Dr. Bannister had met the
applicable standards of care.

64. lf Dr. Bannister had specifically informed Mrs. lvy of the enhanced risk of
complications associated with a laparoscopic procedure due to her history of abdominal surgeries
and abdominal adhesions, Mrs. ivy would have elected an open procedure and would not have

sustained an injury to her bowel.

65 . As a direct and proximate result of Dr. Bannister’s negligence, Mrs. lvy has
suffered the following damages:
A. Past and future medical expenses;

B. Past and future pain and suffering;

C. Past and future emotional distress and mental anguish;

 

Case 2:12-cV-02339-.]TF-tmp Document 1 'Filed 05/01/12 Page 9 of 12 Page|D 9

D. Scarring;

E. Disfigurement;

F. Loss of enjoyment of life;
G. Permanent disability; and
H. Economic damages

COUNT II: LOSS OF CONSORTIUM
66. The injuries and disabilities suffered by Mrs. lvy have significantly impacted and

damaged Mr. lvy and his marital relationship

67 . As a direct and proximate result ofDr. Bannister’s negligence, Mr. lvy has
suffered the following damages:
A. Past and future loss of marital services;
B. Past and future loss of companionship and society, and

C. Past and future loss of wages.

COUNT III: RESPONDEAT SUPERIOR
68. Because Dr. Bannister Was an employee of MOGA and was acting within the
course and scope of her employment with MOGA at all times relevant to this action, the

negligence of Dr. Bannister is imputed to MOGA.

69. As a result, MOGA is liable for all damages sustained by Mrs. lvy and Mr. lvy

under the doctrine of respondent superior.

.]URY DEMAND

70. Plaintiffs demand a jury trial with respect to all issues of fact that may arise in this

action.

 

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 10 of 12 Page|D 10

COMPLIANCE WITH STATUTORY NOTICE REOUIREMENTS
71. The Plaintiffs have complied with the notice requirements set forth in Tenn. Code
Ann. § 29-26-121(a) as set forth in the Affidavit of Counsel filed along with Complaint.
72. On February 16, 2012, the notice of claim letter attached as Exhibit “A” Was
served on Dr. Bannister by personal delivery on Ami Jennings, a person who identified herjob

functions as including receptionist for deliveries to Dr. Bannister and receptionist for arrival of

Dr. Bannister’s patients at her current practice location.

73. Proof of personal delivery of said notice of claim letter to Ms. Jennings is

demonstrated by the Affidavit of Process Server attached as Exhibit “B”.

74. On February 14, 2012, the notice of claim letter attached as Exhibit “C” was
mailed to Dr. Bannister by certified mail, return receipt requested Proof of mailing is further

demonstrated by the certificate of mailing from the United States postal service stamped with the _

date of mailing attached as Exhibit “D”.

75. On February 15, 2012, the notice of claim letter attached as Exhibit “C” was
received by Dr. Bannister’s office as demonstrated by the domestic return receipt attached as
Exhibit “E”.

76. On February 16, 2012, the notice of claim letter attached as Exhibit “F” was
served on Defendant Memphis Obstetrics & Gynecological Association, P.C. (“MOGA”) by
personal delivery on Ami Jennings, a person who identified her job functions as including

receptionist for deliveries to MOGA and receptionist for arrival of its patients at its current

practice location.

77. Proof of personal delivery of said notice of claim letter to Ms. Jennjngs is

demonstrated by the Affidavit of Process Server attached as Exhibit “G”.

10

 

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 11 ot 12 Page|D 11

78. On February 14, 2012, the notice of claim letter attached as Exhibit “H” was
mailed to MOGA by certified mail, return receipt requested Proof of mailing is further

demonstrated by the certificate of mailing from the United States postal service stamped with the

date of mailing attached as Exhibit “l”.

79. On February 15, 2012, the notice of claim letter attached as Exhibit “H” was
received by MOGA as demonstrated by the domestic return receipt attached as Exhibit “J”.

80. According to records maintained by the Tennessee Secretary of State, George F.

Wortham, lli, M.D., was MOGA’s registered agent on February 14, 2012, and has served as its

registered agent since that time.

81. On February l6, 20 l2, the notice of claim letter attached as Exhibit “K” was
served on George F. Wortham, Ill, M.D., in his capacity as MOGA’s registered agent, by
personal delivery on Carol Byrd, a person who identified her job functions as including

receptionist for deliveries to_ George F. Wortham, lII, M.D., in his capacity as MOGA’s

registered agent,

82. Proof of personal delivery of said notice of claim letter to Ms. Byrd is

demonstrated by the Affidavit of Process Server attached as Exhibit “L”.

'83. On Febiuary 14, 2012, the notice of claim letter attached as Exhibit “M” was
mailed to George F. Wortham, HI, M.D., in his capacity as MOGA’s registered agent, by
certified mail, return receipt requested Proof of mailing is further demonstrated by the

certificate of mailing from the United States postal service stamped with the date of mailing

attached as Exhibit “N”.

ll

 

Case 2:12-cV-O2339-.]TF-tmp Document 1 Filed 05/01/12 Page 12 ot 12 Page|D 12

84. On February 15, 2012, the notice of claim letter attached as Exhibit “M” was
received by Carol Byrd on behalf of George F. Wortham, lll, M.D., in his capacity as MOGA’s
registered agent, as demonstrated by the domestic return receipt attached as Exhibit “O”.

COMPLIANCE WI'I`H STATUTORY GOOD FAI'I`H REOUIREMENTS

85. The Plaintiffs have complied with the good faith requirements set forth in Tenn.
Code Ann. § 29-26-122.

` 86. A Certificate of Good Faith, which documents Plaintiffs’ compliance with the
good faith requirements set forth in Tenn. Code Ann. § 29-26-122, is being filed with the Court
along with this Complaint.

WHERBFORE, the Plaintiffs, Brenda L. Ivy and Keith Ivy, pray for judgment against the
Def`endants, jointly and severally, for all damages described herein, which exceed $75,000.00,
exclusive of interest and costs, for their costs herein expended, including attorney’s fees, and for
all other relief to which they may be entitled

d Respectfully submitted,

BRENDA L. IVY AND KEITH M. IVY,
Plaintiffs

ROZIER HAYES, PLLC
5740 Getwell Road
Building 9
Suite A
Southaven, MS 38672

, 662~890-6909 (phone)

662-3 ~6923 (rax)
Byr W#%r{j f .
ar No. 027730)

Robert li/. Hayes, Jr. (
rhayes@rohalaw.com

12

 

